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                            UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF NEW YORK


DEANNA LETRAY,

                              Plaintiff,

                         v.

JEFFERSON COUNTY; CITY OF
WATERTOWN; COLLEEN O’NEILL, Jefferson                        20-CV-1194 (FJS)(TWD)
County Sheriff; KRISTOPHER M. SPENCER;
JOEL DETTMER; CHARLES DONOGHUE, City
of Watertown Police Chief; GEORGE
CUMMINGS; SAMUEL WHITE; DEBORAH
DAVIS and PATRICK LARKINS,

                              Defendants.


                               [PROPOSED] VERDICT SHEET

Part One: LIABILITY

  I.       CLAIM ONE: § 1983 Denial of Equal Protection

  1. Did the plaintiff prove, by a preponderance of the evidence, that any of the following

        defendants discriminated against her based on her transgender status?

                      Defendant George Cummings:

                      Yes_____               No_____



                      Defendant Samuel White:

                      Yes_____               No_____



                      Defendant Joel Dettmer:

                      Yes_____               No_____




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                        Defendant Patrick Larkins:

                        Yes_____                No_____



                        Defendant Deborah Davis:

                        Yes_____                No_____



[If you answered “Yes” to any part of question 1, proceed to questions 1-A through 1-E. If not,
skip 1-A through 1-E.]

        1-A.    Did the plaintiff prove, by a preponderance of the evidence, that any of the

violations identified in question 1 were caused by the Watertown Police Department’s official

policy, practice, or custom, or by its failure to train officers?

                        Yes_____                No_____



        1-B.    Did the plaintiff prove, by a preponderance of the evidence, that any of the

violations identified in question 1 were caused by Defendant Chief Charles Donoghue?

                        Yes_____                No_____



        1-C.    Did the plaintiff prove, by a preponderance of the evidence, that any of the

violations identified in question 1 were caused by the Jefferson County Sheriff’s Office’s official

policy, practice, or custom, of by its failure to train officers?

                        Yes_____                No_____



        1-D.    Did the plaintiff prove, by a preponderance of the evidence, that any of the

violations identified in question 1 were caused by Defendant Sheriff Colleen O’Neill?

                        Yes_____                No_____

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          1-E.   Did the plaintiff prove, by a preponderance of the evidence, that any of the

violations identified in question 1 were caused by Defendant Jail Administrator Kristopher

Spencer?

                         Yes_____              No_____



   II.       CLAIM TWO: New York State Constitution Equal Protection

   2. [This claim requires the same answers you gave regarding CLAIM ONE.]



   III.      CLAIM THREE: New York State Civil Rights Law § 40-c

   3. Did the plaintiff prove, by a preponderance of the evidence, that any of the following

          defendants discriminated against her based on her transgender status, or aided or incited

          such discrimination? For each “yes” answer, identify the number of instances of unlawful

          discrimination—or aiding or inciting—that each respective defendant committed.



                         Defendant George Cummings:

                         Yes_____              No_____

                         If “Yes,” # of instances of discrimination/aiding/inciting: _____



                         Defendant Samuel White:

                         Yes_____              No_____

                         If “Yes,” # of instances of discrimination/aiding/inciting: _____

                         Defendant Joel Dettmer:

                         Yes_____              No_____

                         If “Yes,” # of instances of discrimination/aiding/inciting: _____

                                                   3
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                    Defendant Patrick Larkins:

                    Yes_____              No_____

                    If “Yes,” # of instances of discrimination/aiding/inciting: _____



                    Defendant Deborah Davis:

                    Yes_____              No_____

                    If “Yes,” # of instances of discrimination/aiding/inciting: _____



                    Defendant Charles Donoghue:

                    Yes_____              No_____

                    If “Yes,” # of instances of discrimination/aiding/inciting: _____



                    Defendant Colleen O’Neill:

                    Yes_____              No_____

                    If “Yes,” # of instances of discrimination/aiding/inciting: _____



                    Defendant Kristopher Spencer:

                    Yes_____              No_____

                    If “Yes,” # of instances of discrimination/aiding/inciting _____



IV.      CLAIM FOUR: § 1983 Unreasonable Manual Body Cavity Search

4. Did the plaintiff prove, by a preponderance of the evidence, that Defendant Joel Dettmer

      performed an unreasonable manual body cavity search on her?

                    Yes_____              No_____

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V.       CLAIM FIVE: § 1983 Sexual Assault

5. Did the plaintiff prove, by a preponderance of the evidence, that Defendant Joel Dettmer

      sexually assaulted her?

                    Yes_____              No_____



VI.      CLAIM SIX: § 1983 Failure to Intervene

         (ONLY ANSWER IF YOU CHECKED “YES” AS TO DEFENDANT DETTMER
         FOR ANY OTHER CLAIM. OTHERWISE SKIP.)

6. Did the plaintiff prove, by a preponderance of the evidence, that any of the following

      defendants unlawfully failed to intervene when Defendant Joel Dettmer was violating her

      rights?

                    Defendant George Cummings:

                    Yes_____              No_____



                    Defendant Patrick Larkins:

                    Yes_____              No_____



                    Defendant Deborah Davis:

                    Yes_____              No_____

VII.     CLAIM SEVEN: § 1983 Excessive Use of Force

7. Did the plaintiff prove, by a preponderance of the evidence, that any of the following

      defendants used unreasonable or excessive force against her?




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             Defendant George Cummings:

             Yes_____             No_____



             Defendant Samuel White:

             Yes_____             No_____



             Defendant Joel Dettmer:

             Yes_____             No_____




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Part Two: DAMAGES

(ONLY COMPLETE IF YOU ANSWERED “YES” TO ANY QUESTION 1-7)

Compensatory Damages:

   8. If you found liability as to any claim other than CLAIM THREE (i.e., if you answered

      “yes” to question 1, 2, 4, 5, 6, or 7), state the amount of compensatory damages to which

      the plaintiff is entitled.

                               $_______________



Statutory Penalty:

   9. If you found liability as to CLAIM THREE for any defendant (i.e., if you answered “yes”

      finding that any defendant violated Civil Rights Law § 40-c), you must choose a statutory

      penalty of no less than $100 and no more than $500 for each instance of discrimination

      (including aiding or inciting discrimination) you identified. Add up these numbers. State

      the total amount of the statutory penalties to which the plaintiff is entitled.

                               $________________



Punitive Damages:

   10. Has the plaintiff proved, by a preponderance of the evidence, that she is entitled to

      punitive damages against:



                               Defendant George Cummings:

                               Yes_____              No_____




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                          Defendant Samuel White:

                          Yes_____              No_____



                          Defendant Joel Dettmer:

                          Yes_____              No_____



                          Defendant Patrick Larkins:

                          Yes_____              No_____



                          Defendant Deborah Davis:

                          Yes_____              No_____



                          Defendant Charles Donoghue:

                          Yes_____              No_____



                          Defendant Colleen O’Neill:

                          Yes_____              No_____



                          Defendant Kristopher Spencer:

                          Yes_____              No_____



11. If you answered “yes” to any part of question 10, identify the amount of punitive

   damages to which the plaintiff is entitled from each defendant:




                                            8
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                   Defendant George Cummings:

                   $_______________



                   Defendant Samuel White:

                   $_______________



                   Defendant Joel Dettmer:

                   $_______________



                   Defendant Patrick Larkins:

                   $_______________



                   Defendant Deborah Davis:

                   $_______________



                   Defendant Charles Donoghue:

                   $_______________



                   Defendant Colleen O’Neill:

                   $_______________



                   Defendant Kristopher Spencer:

                   $_______________




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                  ***YOUR DELIBERATIONS ARE COMPLETE***



Dated: ____________, 2024                 _________________________________
                                          FOREPERSON




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